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                        UNITED STATES DISTRICT COURT

                                DISTRICT OF MAINE

 ANDREA BECKWITH, EAST      )
 COAST SCHOOL OF SAFETY,    )
 NANCY COSHOW, JAMES WHITE, )
 J WHITE GUNSMITHING, ADAM )
 HENDSBEE, A&G SHOOTING,    )
 THOMAS COLE, AND TLC       )
 GUNSMITHING AND ARMORY,    )
                            )
               Plaintiffs   )
                            )
      v.                    )                   No. 1:24-cv-00384-LEW
                            )
 AARON FREY, ATTORNEY       )
 GENERAL OF MAINE,          )
                            )
               Defendant    )

               ORDER ON PLAINTIFFS’ MOTION TO STAY
          PRELIMINARY INJUNCTION ORDER PENDING APPEAL

       The Plaintiffs in this action challenge the constitutionality of 25 M.R.S. § 2016

 (“Waiting period after sale of firearm”) (“the Act”). On February 13, 2025, I awarded

 the Plaintiffs a preliminary injunction barring the enforcement of the Act pending the

 completion of this litigation. Order on Pls.’ Mot. for Prelim. Inj. Relief (“Order,” ECF

 No. 30). Attorney General Frey filed a Notice of Appeal on February 17, 2025 (ECF

 No. 31). The matter is before the Court on Defendant’s Motion to Stay the Preliminary

 Injunction Order Pending Appeal (“Motion,” ECF No. 32).
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                               STANDARD OF REVIEW

        Pursuant to the Federal Rules of Appellate Procedure, a party appealing the entry

 of a preliminary injunction by the District Court may seek a stay of the injunction

 pending appeal. Fed. R. App. P. 8(a). Ordinarily, the party must first request such relief

 from the District Court. Fed. R. App. P. 8(a)(1)(A).

        To secure from a district court a stay of injunctive relief pending appeal, “the

 moving party need not persuade the court that it is likely to be reversed on appeal.”

 Canterbury Liquors & Pantry v. Sullivan, 999 F. Supp. 144, 150 (D. Mass. 1998).

 However, “more than a mere possibility of relief is required.” Nken v. Holder, 556 U.S.

 418, 434 (2009) (internal quotation marks omitted). The provision of a stay pending

 appeal is a discretionary matter attuned to the circumstance of the case at hand. Id. at

 433. The exercise of that discretion is guided by the moving party’s ability to

 convincingly demonstrate the following: (1) likelihood of success on appeal; (2)

 irreparable harm absent injunctive relief; (3) a lack of substantial injury to others having

 an interest in the decision under appeal; and (4) service of the public interest. Id. at

 434; see also State of New Jersey v. Trump, -- F.4th --, 2025 WL 759612, at *2 (1st Cir.

 Mar. 11, 2025); Arborjet, Inc. v. Rainbow Treecare Sci. Advancements Inc., 794 F.3d

 168, 171 (1st Cir. 2015).

        Of these elements, the “first two factors are the most critical,” Respect Maine

 PAC v. McKee, 622 F.3d 13, 15 (1st 2010), but failure to “show a strong likelihood of

 success” on appeal is an independent basis for denial of an injunction pending appeal.

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 Id.; Acevedo-Garcia v. Vera-Monroig, 296 F.3d 13, 16 (1st Cir. 2002) (per curiam); In

 re Elias, 182 F. App’x 3 (1st Cir. 2006) (per curiam).

                                       ANALYSIS

       The major argument of Attorney General Frey’s Motion to Stay is that a stay will

 preserve lives. The secondary argument is that the Act is “presumptively lawful.” Mot.

 at 1. For the reasons that follow, I find AG Frey’s showing insufficient to meet the first

 two, most critical requirements for obtaining a stay pending appeal and therefore deny

 the request primarily on that basis. I also conclude that the third and fourth requirements

 do not favor a stay of the injunction pending appeal.

 A.    Likelihood of Success on the Merits

       AG Frey’s first argument, loss of life, is indeed potentially weighty, but it does

 not inform the merits inquiry. In Bruen, the Supreme Court eliminated the familiar

 means-ends test in Second Amendment challenges.               Before Bruen, the alleged

 lifesaving benefits of a three-day waiting period may have been relevant to the merits

 of a constitutional challenge through a standard scrutiny analysis, but that has not been

 the law of the land for nearly three years. New York State Rifle & Pistol Ass’n, Inc. v.

 Bruen, 597 U.S. 1, 17 (2022). This is an unsubtle point that nevertheless appears lost

 in the shuffle, apparently to persuade me of the wisdom of the law to compensate for

 its potential constitutional shortcomings. But this is beside the point for purposes of

 constitutional review because even a wise law may be found unconstitutional. My

 preliminary conclusion is just that. Other courts will have the final word on the matter

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 and those courts, even if they disagree with my conclusion, will endeavor to faithfully

 apply the new constitutional standard in Bruen, not their personal policy preferences.

 So, while AG Frey predicts that the three-day waiting period may save lives, that has

 nothing to do with the constitutional analysis I am to apply, as expressed by the

 Supreme Court.

       The second argument, although addressed to the merits inquiry, lacks merit.

 Because the Act proscribes conduct clearly covered by the Second Amendment, it is

 the conduct, rather than the Act, that is “presumptively protect[ed]” under Supreme

 Court precedent. New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 17

 (2022). And for the reasons set forth in the Order, Maine’s new waiting period is

 inconsistent with the Nation’s history and tradition of firearm regulation. Maine’s

 waiting period “broadly restricts arms [access] by the public generally,” United States

 v. Rahimi, 602 U.S. 680, 698 (2024), without attempting to calibrate the new access-to-

 arms restriction to history and tradition by limiting the law’s application to members of

 the public who “pose a credible threat” to themselves or others. Id. at 700.

       AG Frey’s failure to “show a strong likelihood of success” on appeal is an

 independent basis for denial of an injunction pending appeal. Respect Maine PAC, 622

 F.3d at 15; Acevedo-Garcia v. Vera-Monroig, 296 F.3d 13, 16 (1st Cir. 2002) (per

 curiam); In re Elias, 182 F. App’x 3 (1st Cir. 2006) (per curiam).




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 B.     Irreparable Injury

        On the issue of irreparable injury, I have previously concluded that the

 constitutional injury to Plaintiffs and to those on whose behalf they appear is the injury

 that requires the most solicitude in the context of litigation over the constitutionality of

 the Act. AG Frey insists that the Plaintiffs’ interest in avoiding that constitutional injury

 pales in comparison to the State’s interest in preventing an injury measured by the loss

 of lives to individuals who may commit suicide with the use of a newly purchased

 firearm, characterizing Plaintiffs’ interest but not the State’s interest as “speculative at

 best.” Mot. at 1.

        In fact, neither Plaintiffs’ interest nor the State’s interest is fairly characterized

 as speculative. However, if the Act is unconstitutional—which it likely is—it will

 curtail the exercise of rights preserved under the Second Amendment by many members

 of the body politic on a regular, steady, and ongoing daily basis (measured by nearly

 every firearm sale in Maine during the pendency of this litigation), whereas the

 preliminary injunction barring enforcement of the Act pending further litigation may or

 may not result in a loss of life that could have been avoided by the enforcement of the

 Act.

        Given the combined weight of a likely unconstitutional legislative regime, the

 ongoing daily infringement of the populace’s Second Amendment rights in the absence

 of the preliminary injunction, and the Act’s departure from history and tradition, I



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 conclude that the irreparable injury element, like the merits element, favors the

 Plaintiffs.

 C.     Remaining Considerations

        When I consider the balance of impositions and the public’s interest in this

 litigation, I am again mindful that the Act represents the far starker break with history

 and tradition—having in mind here the status quo—than does the preliminary injunction

 I recently entered. Throughout its history, Maine has not sought to impose a waiting

 period on firearm purchases, despite the readily available idea that it might prevent the

 loss of life. Maine’s recent turnabout has upended long-standing expectations and

 restrained the orderly exercise of a right presumptively protected by the Second

 Amendment such that the relative balance of impositions on the parties and the public

 interest do not favor a stay pending appeal. See, e.g., New Jersey v. Trump, -- F.4th at

 --, 2025 WL 759612, at *3 (discrediting petition for stay pending appeal based in part

 on Executive Branch’s “dramatic[] break . . . disrupt[ing] longstanding governmental

 practices”).

                                    CONCLUSION

        Because I find that Defendant has not carried his burden with regard to either

 likelihood of success or irreparable injury, which are customarily deemed essential

 requirements for a stay pending appeal, and because I find that Defendant has not

 carried his burden as to the latter two considerations, Defendant’s Motion to Stay the

 Preliminary Injunction Order Pending Appeal (ECF No. 32) is DENIED.

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 SO ORDERED.

       Dated this 12th day of March, 2025.

                                       /s/ Lance E. Walker
                                       Chief U.S. District Judge




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